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                            UNITED STATES DISTRICT COURT                               $UP
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


UNITED STATES OF AMERICA                                                                        5   i   >.       t: - ; ' , . I
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v.                                                       Case No. 3 : 0 4 - c r - 2 0 6 ( ~ 2 ) - ~ - 2 0 ~ ~ ~          *'




JAMAEL TYSON
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                                         ORDER

       The United States' Motion for Reduction of Defendant's Sentence for Timely Notification

of Intent to Enter a Plea of Guilty (Doc. No. 822, filed January 19,2006) is GRANTED.

       DONE AND ORDERED at Jacksonville, Florida, this      2m d a y of January, 2006.




Copies to:
Don Pashayan, Esq.
W. Charles Fletcher, Esq.
U.S. Probation
